                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  UNITED STATES OF AMERICA
                                                           Case No. 3:21-CR-38
            v.
                                                           Judges Crytzer / Poplin
  BENJAMIN ALAN CARPENTER
           a/k/a “Abu Hamza”


                       GOVERNMENT’S RESPONSE IN OPPOSITION
                 TO DEFENDANT’S MOTION TO DISMISS THE INDICTMENT

           The United States of America, by Francis M. Hamilton III, Acting United States Attorney

 for the Eastern District of Tennessee, respectfully submits this response in opposition to the

 Defendant’s Motion for Dismissal on the Grounds the Indictment is Insufficient, (Doc. 40).

 Because the indictment contains the elements of the charged offense, fairly informs the

 defendant of the charge against which he must defend, and enables him to plead an acquittal or

 conviction in bar of future prosecutions for the same offense, the Defendant’s Motion should be

 denied.

 I.        Background

           On March 23, 2021, a grand jury in the Eastern District of Tennessee returned a one-

 count indictment charging the Defendant with attempting to provide material support to a

 designated foreign terrorist organization in violation of 18 U.S.C. § 2339B. (Doc. 3,

 Indictment). In addition to the § 2339B charge, the indictment includes forfeiture allegations.

           The indictment alleges that from on or about January 30, 2021 to on or about February

 14, 2021, in the Eastern District of Tennessee and elsewhere, the Defendant knowingly

 attempted to provide material support and resources to a foreign terrorist organization. The

 indictment further identifies the foreign terrorist organization as the Islamic State of Iraq and al-



Case 3:21-cr-00038-KAC-DCP Document 43 Filed 09/07/21 Page 1 of 6 PageID #: 326
 Sham (“ISIS”) and alleges that ISIS was, and is, designated by the U.S. Secretary of State as a

 foreign terrorist organization. The indictment also specifies that the “material support and

 resources” the Defendant attempted to provide included, among other things, services. The

 indictment further alleges that the Defendant provided services to ISIS knowing that ISIS was a

 designated foreign “terrorist organization,” that ISIS engages and has engaged in “terrorist

 activity,” and that ISIS engages and has engaged in “terrorism,” as these terms are defined in

 federal law.

 II.    Argument

        Under Rule 7(c)(1) of the Federal Rules of Criminal Procedure, an indictment must

 include “a plain, concise, and definite written statement of the essential facts constituting the

 offense charged.” To satisfy Rule 7, an indictment must “fully, directly, and expressly … set

 forth all the elements necessary to constitute the offense intended to be punished.” United States

 v. Howard, 947 F.3d 936, 943 (6th Cir. 2020) (quoting United States v. Kuehne, 547 F.3d 667,

 696 (6th Cir. 2008)). “[A]n indictment is sufficient if it, first contains the elements of the offense

 charged and fairly informs a defendant of the charge against which he must defend, and second,

 enables him to plead an acquittal or conviction in bar of future prosecutions for the same

 offense.” United States v. Anderson, 605 F.3d 404, 411 (6th Cir. 2010) (quoting Hamling v.

 United States, 418 U.S. 87, 117 (1974)).

        The indictment contains the elements of the charged offense and closely tracks the

 relevant statutory language from § 2339B. Specifically, the indictment charges that (1) the

 Defendant knowingly attempted to provide material support and resources, specifically services,

 to ISIS; (2) that the Defendant attempted to provide material support and resources to ISIS

 knowing that ISIS was a designated foreign “terrorist organization,” that ISIS engages and has



                                                   2

Case 3:21-cr-00038-KAC-DCP Document 43 Filed 09/07/21 Page 2 of 6 PageID #: 327
 engaged in “terrorist activity,” and that ISIS engages and has engaged in “terrorism,” as these

 terms are defined in federal law; and (3) that ISIS was, during all times relevant to the

 indictment, designated as a foreign terrorist organization by the U.S. Secretary of State.

         Given that the indictment contains the elements of the charged offense and tracks the

 statutory language, the Defendant is fairly informed of the charge against which he has to

 defend. See Anderson, 605 F.3d at 411 (concluding that the indictment fairly informed the

 defendant of the charge because it tracked the statutory language and contained the elements of

 the charged offense); United States v. Collis, 128 F.3d 313, 317 (6th Cir. 1997) (holding that an

 indictment was sufficient because “[t]he charged offense fully tracks the relevant language of”

 the statute).

         The indictment also alleges that the crime charged occurred during a specific fifteen-day

 period of time and it identifies the specific foreign terrorist organization involved, ISIS.

 Accordingly, the Defendant is adequately able to plead an acquittal or conviction in bar of future

 prosecutions for the same offense. See Anderson, 605 F.3d at 411 (concluding that the

 indictment satisfied the second prong of the Hamling test where it “included the relevant time

 period and the specific event that triggered the charge against [the defendant]”).

         The Defendant’s reliance on United States v. Awan, 459 F.Supp.2d 167 (E.D.N.Y. Oct.

 26, 2006) is misplaced. In Awan, the defendant was charged in a three-count superseding

 indictment for terrorism offenses. Counts One and Two of that indictment are relevant here and

 both alleged violations of 18 U.S.C. § 2339A. Count One alleged that between 1998 and

 February 2005, the defendant conspired with others to provide material support and resources,

 knowing that they were to be used in preparation for, and in carrying out, a conspiracy to murder,

 kidnap or maim a person outside the United States. Count Two alleged that between 1998 and



                                                   3

Case 3:21-cr-00038-KAC-DCP Document 43 Filed 09/07/21 Page 3 of 6 PageID #: 328
 November 6, 2001, the defendant provided material support and resources knowing that they

 were to be used in preparation for, and in carrying out, a conspiracy to murder, kidnap or maim a

 person outside the United States. Awan, 459 F.Supp.2d at 173.

        The defendant filed a motion to dismiss the indictment and argued with respect to Counts

 One and Two that the indictment failed “to provide the sufficient factual detail as to what

 ‘material support or resources’ [the] defendant provided and at what times.” Id. at 174. The

 district court credited the defense argument and granted the motion to dismiss Counts One and

 Two without prejudice. Id. at 191. The district court concluded that the indictment failed in that

 it alleged “material support” without indicating “which of a variety of activities, any one of

 which would be criminal, that the defendant must defend against or which the grand jury

 considered.” Id. at 176.

        Unlike the indictment in Awan, the indictment in this case does not simply allege that the

 Defendant attempted to provide “material support and resources.” Here, the indictment further

 alleges that the “material support and resources” that the Defendant attempted to provide

 specifically included “services,” which is expressly identified as a sub-category under the

 definition of “material support and resources.” See 18 U.S.C. § 2339A(b)(1) (“The term

 ‘material support or resources’ means any property, tangible, or intangible, or service ….”).

        Moreover, the timeframe of the charge in this case underscores the specificity of the

 allegations against which the Defendant has to defend. Unlike in Awan where the defendant was

 charged in Count One with participating in a seven-year conspiracy to provide material support

 and resources or in Count Two where the defendant was charged with providing material support

 and resources over nearly a four-year period, the charge in this case alleges the Defendant’s

 attempted provision of services to ISIS occurred during a specific fifteen-day period.



                                                  4

Case 3:21-cr-00038-KAC-DCP Document 43 Filed 09/07/21 Page 4 of 6 PageID #: 329
        Accordingly, the indictment in this case is readily distinguishable from the indictment at

 issue in Awan. The indictment here not only alleges that the Defendant attempted to provide

 “material support and resources,” but further alleges that the type of material support provided

 by the Defendant included services. Moreover, the indictment in this case alleges a specific

 fifteen-day time period during which the crime occurred. As such, the indictment fairly informs

 the Defendant of the charge against which he must defend.

        If the Defendant seeks more detail regarding the allegations in the indictment, he may file

 a motion for a bill of particulars. However, from the beginning of the case, the Government has

 provided a significant amount of detail to the Defendant about the charged offense. At the

 Defendant’s initial appearance on the day of his arrest, the Government provided his counsel

 with an unredacted affidavit in support of a search warrant for the Defendant’s residence, (3:21-

 MJ-2055). That search warrant affidavit, which was subsequently made public in redacted form

 as an exhibit during the detention hearing, describes the specific translation services provided by

 the Defendant during the timeframe alleged in the indictment. In addition, the Government met

 with the Defendant’s previous counsel and identified in the discovery productions where the

 evidence supporting the crime alleged in the indictment could be located.

        Regardless of whether the Defendant may be entitled to a bill of particulars, the

 allegations in the indictment are sufficient. The “true test of the sufficiency of an indictment is

 not whether it could have been made more definite and certain, but whether it contains the

 elements of the offense intended to be charged, and sufficiently apprises the defendant of what

 he must be prepared to meet ….” United States v. Debrow, 346 U.S. 374, 377 (1953) (internal

 quotations and citations omitted). In this case, the indictment is sufficient because it contains the

 elements of the charged offense, fairly informs the defendant of the charge against which he



                                                   5

Case 3:21-cr-00038-KAC-DCP Document 43 Filed 09/07/21 Page 5 of 6 PageID #: 330
 must defend, and enables him to plead an acquittal or conviction in bar of future prosecutions for

 the same offense.

 III.   Conclusion

        For the reasons stated herein, the Defendant’s Motion for Dismissal on the Grounds the

 Indictment is Insufficient should be denied.

        Respectfully submitted on September 7, 2021.

                                                      FRANCIS M. HAMILTON III
                                                      ACTING UNITED STATES ATTORNEY

                                                By:   /s/ Casey T. Arrowood
                                                      Casey T. Arrowood
                                                      Assistant United States Attorney
                                                      TN BPR No. 038225
                                                      800 Market Street, Suite 211
                                                      Knoxville, TN 37902
                                                      (865) 545-4167
                                                      Casey.Arrowood2@usdoj.gov




                                                  6

Case 3:21-cr-00038-KAC-DCP Document 43 Filed 09/07/21 Page 6 of 6 PageID #: 331
